Case 1:15-cv-21450-MGC Document 54 Entered on FLSD Docket 11/28/2017 Page 1 of 3




                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 1:15-cv-21450-COOKE/TORRES

  ARISTA RECORDS LLC, et al.,

                        Plaintiffs,

  vs

  MONICA VASILENKO and DOES 1-10,
  d/b/a MP3SKULL.COM and MP3SKULL.TO,

                    Defendants.
  _______________________________________/

              NON-PARTY CLOUDFLARE, INC.’S NOTICE OF SERVICE
         OF LOCAL RULE 7.1(b) NOTIFICATION OF NINETY DAYS EXPIRING

         Non-Party Cloudflare, Inc. files this Notice of Service of its Notification of Ninety Days

  Expiring, attached hereto as Exhibit A, served on all counsel today in compliance with this

  Court’s Local Rule 7.1(b)(4).




                                      [signature on following page]




             LOTT & FISCHER, PL • 255 Aragon Avenue • Third Floor • Coral Gables, FL 33134
                        Telephone: (305) 448-7089 • Facsimile: (305) 446-6191
Case 1:15-cv-21450-MGC Document 54 Entered on FLSD Docket 11/28/2017 Page 2 of 3
                                                               CASE NO. 1:15-CV-21450-MGC

  Date: November 28, 2017              Respectfully submitted,

                                       LOTT & FISCHER, PL

                                       s/ Leslie J. Lott
                                       Leslie J. Lott
                                       Florida Bar No. 182196
                                       E-mail: ljlott@lottfischer.com
                                       255 Aragon Avenue, Third Floor
                                       Coral Gables, FL 33134
                                       Telephone: (305) 448-7089
                                       Facsimile: (305) 446-6191

                                       And

                                       FENWICK & WEST LLP
                                       Andrew P. Bridges*
                                       E-mail: abridges@fenwick.com
                                       Tyler G. Newby*
                                       E-mail: tnewby@fenwick.com
                                       Armen N. Nercessian*
                                       E-mail: anercesian@fenwick.com
                                       555 California Street, 12th Floor
                                       San Francisco, CA 94104
                                       Telephone: (415) 875-2389
                                       Facsimile: (415) 281-1350

                                       *Admitted Pro Hac Vice

                                       Attorneys for CloudFlare, Inc.




                                               2
           LOTT & FISCHER, PL • 255 Aragon Avenue • Third Floor • Coral Gables, FL 33134
                      Telephone: (305) 448-7089 • Facsimile: (305) 446-6191
Case 1:15-cv-21450-MGC Document 54 Entered on FLSD Docket 11/28/2017 Page 3 of 3
                                                                 CASE NO. 1:15-CV-21450-MGC


                                  CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on November 28, 2017, I electronically filed the foregoing
  document with the Clerk of the Court using CM/ECF. I also certify that the foregoing document
  is being served this day on all counsel of record identified on the attached Service List in the
  manner specified, either via transmission of Notices of Electronic Filing generated by CM/ECF
  or in some other authorized manner for those counsel or parties who are not authorized to
  electronically receive Notices of Electronic Filing.


                                                       s/ Leslie J. Lott
                                                       Leslie J. Lott


                                          SERVICE LIST

                            Arista Records LLC, et al. v. Vasilenko, et al.
                       United States District Court, Southern District of Florida
                          CASE NO. 1:15-CV-21450-COOKE/TORRES

  Service via CM/ECF generated Notices of Electronic Filing:

  GRAY-ROBINSON, P.A.
  Karen L. Stetson
  E-Mail: karen.stetson@gray-robinson.com
  1221 Brickell Avenue, 16th Floor
  Miami, FL 33131
  Telephone: (305) 416-6880
  Facsimile: (305) 416-6887

  And

  JENNER & BLOCK LLP
  Kenneth L. Doroshow*
  E-Mail: kdoroshow@jenner.com
  1099 New York Ave., N.W., Suite 900
  Washington, DC 20001
  Telephone: (202) 639-6000
  Facsimile: (202) 639-6066

  *Admitted Pro Hac Vice

  Attorneys for Plaintiffs




                                                 3
             LOTT & FISCHER, PL • 255 Aragon Avenue • Third Floor • Coral Gables, FL 33134
                        Telephone: (305) 448-7089 • Facsimile: (305) 446-6191
